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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

ANDREW GOLDSMITH, Individually and on | Case No. 2:17-cv-04728
Behalf of All Others Similarly Situated,

Plaintiff,

Vv.

WEIBO CORPORATION, GAOFEI
WANG, and HERMAN YU,

Defendants.

 

FENG CHEN, Individually and on Behalf of All | Case No. 2:17-cv-05694
Others Similarly Situated,

Plaintiff,

V.

WEIBO CORPORATION, GAOFEI
WANG, and HERMAN YU,

Defendants.

 

 

ORDER CONSOLIDATING RELATED CASES, APPOINTING LEAD
PLAINTIFF, AND APPROVING LEAD PLAINTIFEF’S SELECTION OF COUNSEL
Ease 2:17-6V-04728-SRE-ELW Besument Sel FikenceBRBil’” Rage 2at2 Pagal: 107

Having considered the motion of Chen Qiwei ("Mr. Qiwei") for the consolidation of
related cases, appointment as Lead Plaintiff, and approval of his selection of counsel (the
"Motion"), and all papers in support thereof and in opposition thereto, and oral argument, if any,
and good cause appearing therefore:

1. The Motion is hereby granted;

2. The above-captioned actions are consolidated;

3. Mr. Qiwei is hereby appointed Lead Plaintiff for the Class pursuant to Section
21D(a)(3)(B) of the Securities Exchange Act of 1934, 15 U.S.C. §78u-4(a)(3)(B), as amended by
Section 101(b) of the Private Securities Litigation Reform Act of 1995; and

4. The law firm of Levi & Korsinsky, LLP, is hereby appointed as Lead Counsel for

the Class.

IT IS SO ORDERED. LP
DATED: J LU// — .
AE HONORABLE STANLEY R. CHESLER

UNITED STATES DISTRICT JUDGE

 
